Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25   Page 1 of 56 Page ID
                                   #:25288

 1
 2
                                                                    1/27/25
 3                                                                       IV

 4
 5
 6
 7
 8
 9                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
10
     FRANCESCA GREGORINI,                     Case No. 2:20-cv-00406-SSS-JCx
11
                Plaintiff,                    FINAL JURY INSTRUCTIONS
12        v.
                                               Trial: January 13, 2025
13 APPLE INC., a California corporation;
   M. NIGHT SHYAMALAN, an
14 individual, BLINDING EDGE
   PICTURES, INC., a Pennsylvania
15 corporation; UNCLE GEORGE
   PRODUCTIONS; a Pennsylvania
16 corporation; ESCAPE ARTISTS LLC,
   a California limited liability company;
17 DOLPHIN BLACK PRODUCTIONS,
   a California corporation; TONY
18 BASGALLOP, an individual; ASHWIN
   RAJAN, an individual; JASON
19 BLUMENTHAL, an individual; TODD
   BLACK, an individual; STEVE TISCH,
20 an individual; and DOES 1-10,
   inclusive
21
                 Defendants.
22
23
24
25
26
27
28


                                                                   JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25          Page 2 of 56 Page ID
                                     #:25289

 1                              Instruction No. 1: Duty of Jury
 2         Members of the jury: You are now the jury in this case. It is my duty to
 3 instruct you on the law.
 4         It is your duty to find the facts from all the evidence in the case. To those
 5 facts you will apply the law as I give it to you. You must follow the law as I give it
 6 to you whether you agree with it or not. And you must not be influenced by any
 7 personal likes or dislikes, opinions, prejudices or sympathy. That means that you
 8 must decide the case solely on the evidence before you. You will recall that you
 9 took an oath to do so.
10         At the end of the trial, I will give you final instructions. It is the final
11 instructions that will govern your duties.
12         Please do not read into these instructions, or anything I may say or do, that I
13 have an opinion regarding the evidence or what your verdict should be.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 1
                                                                            JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25      Page 3 of 56 Page ID
                                     #:25290

 1                        Instruction No. 2: Claims and Defenses
 2         To help you follow the evidence, I will give you a brief summary of the
 3 positions of the parties:
 4         The plaintiff, Francesca Gregorini, asserts that the defendants, Apple Inc., M.
 5 Night Shyamalan, Blinding Edge Pictures, Inc., Uncle George Productions, LLC,
 6 Escape Artists, Inc., Dolphin Black Productions, Tony Basgallop, Ashwin Rajan,
 7 Jason Blumenthal, Todd Black, and Steve Tisch have infringed her copyright in her
 8 2013 motion picture titled The Truth about Emanuel (which may be referred to
 9 simply as Emanuel for short during trial and in my instructions) by creating,
10 producing, distributing, streaming and/or transmitting Episodes 1 through 3 of their
11 television series Servant. The plaintiff has the burden of proving these claims.
12         The defendants deny infringing the plaintiff’s copyright. Among other things,
13 Defendants contend that they did not have access to plaintiff’s film, did not copy
14 the plaintiff’s film, and independently created Servant.
15         The plaintiff denies defendants’ assertions.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              2
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25      Page 4 of 56 Page ID
                                    #:25291

 1               Instruction No. 3: Preliminary Instruction—Copyright
 2         The plaintiff, Francesca Gregorini owns a copyright and seeks damages
 3 against the defendants, Apple Inc., M. Night Shyamalan, Blinding Edge Pictures,
 4 Inc., Uncle George Productions, Escape Artists, Inc., Dolphin Black Productions,
 5 Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch,
 6 for copyright infringement. The defendants deny infringing the plaintiff’s copyright
 7 and assert defenses. To help you understand the evidence in this case, I will explain
 8 some of the legal terms you will hear during this trial.
 9                           DEFINITION OF COPYRIGHT
10         The owner of a copyright has the right to exclude any other person from
11 reproducing, distributing, performing, displaying, or preparing derivative works
12 from the work covered by copyright for a specific period of time.
13         A copyrighted work can be a literary work, musical work, dramatic work,
14 pantomime, choreographic work, pictorial work, graphic work, sculptural work,
15 motion picture, audiovisual work, sound recording, architectural work, or computer
16 program.
17         Facts, ideas, procedures, processes, systems, methods of operation, concepts,
18 principles, or discoveries cannot themselves be copyrighted.
19         The copyrighted work must be original. An original work that closely
20 resembles other works can be copyrighted so long as the similarity between the two
21 works is not the result of copying.
22                          HOW COPYRIGHT IS OBTAINED
23         Copyright automatically attaches to a work the moment the work is fixed in
24 any tangible medium of expression. The owner of the copyright may apply to
25 register the copyright by completing a registration form and depositing a copy of
26 the copyrighted work with the Copyright Office. After determining that the material
27 deposited constitutes copyrightable subject matter and that certain legal and formal
28
                                              3
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25        Page 5 of 56 Page ID
                                      #:25292

 1
     requirements are satisfied, the Register of Copyrights registers the work and issues
 2
     a certificate of registration to the copyright owner.
 3
                             PLAINTIFF’S BURDEN OF PROOF
 4
             In this case, the plaintiff, Francesca Gregorini, contends that the defendants,
 5
     Apple Inc., M. Night Shyamalan, Blinding Edge Pictures, Inc., Uncle George
 6
     Productions, Escape Artists, Inc., Dolphin Black Productions, Tony Basgallop,
 7
     Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch
 8
     , have infringed the plaintiff’s copyright. The plaintiff has the burden of
 9
     proving by a preponderance of the evidence that the defendants copied original
10
     expression from the copyrighted work, and that the defendants caused the
11
     infringement. Preponderance of the evidence means that you must be persuaded by
12
     the evidence that it is more probably true than not true that the copyrighted work
13
     was infringed.
14
                                     PROOF OF COPYING
15
             To prove that a defendant copied the plaintiff’s work, the plaintiff may use
16
     direct or indirect evidence. Direct evidence includes an admission that the defendant
17
     copied the plaintiff’s work. Indirect evidence is evidence showing that the
18
     defendant had access to the plaintiff’s copyrighted work and that there are
19
     substantial similarities between the defendant’s work and the plaintiff’s copyrighted
20
     work.
21
             The plaintiff must also prove that the defendant’s copying of the copyrighted
22
     work was substantial. In determining whether the defendant’s copying of the
23
     copyrighted work was substantial, you may consider how important the copied
24
     portion was to the copyrighted work as a whole.
25
26
27
28
                                                 4
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25       Page 6 of 56 Page ID
                                      #:25293

 1
                            LIABILITY FOR INFRINGEMENT
 2
           One who causes a copyrighted work to be publicly distributed, publicly
 3
     displayed or the basis of a derivative work without authority from the copyright
 4
     owner during the term of the copyright infringes the copyright.
 5
           A person may be liable for another person’s infringement by vicariously
 6
     infringing or contributorily infringing.
 7
                               VICARIOUS INFRINGEMENT
 8
           A person is liable for copyright infringement by another if the person has
 9
     profited directly from the infringing activity and had the right and ability to
10
     supervise or control the infringing activity, whether or not the person knew of the
11
     infringement.
12
                            CONTRIBUTORY INFRINGEMENT
13
           A person is liable for copyright infringement by another if the person knows
14
     or should have known of the infringing activity and induces or materially
15
     contributes to the activity.
16
                              DEFENSES TO INFRINGEMENT
17
           The defendants contend that there is no copyright infringement. There is no
18
     copyright infringement when the defendant’s work is the result of independent
19
     creation, coincidence, or prior common source.
20
21
22
23
24
25
26
27
28
                                                5
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25       Page 7 of 56 Page ID
                                   #:25294

 1        Instruction No. 4: Burden of Proof—Preponderance of the Evidence
 2
 3         When a party has the burden of proving any claim or affirmative defense by a
 4 preponderance of the evidence, it means you must be persuaded by the evidence
 5 that the claim or affirmative defense is more probably true than not true.
 6         You should base your decision on all of the evidence, regardless of which
 7 party presented it.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             6
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25    Page 8 of 56 Page ID
                                     #:25295

 1           Instruction No. 5: Two or More Parties—Different Legal Rights
 2         You should decide the case as to each defendant separately. Unless otherwise
 3 stated, the instructions apply to all parties.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               7
                                                                      JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25       Page 9 of 56 Page ID
                                   #:25296

 1                          Instruction No. 6: What is Evidence
 2        The evidence you are to consider in deciding what the facts are consists of:
 3              1.     the sworn testimony of any witness;
 4              2.     the exhibits that are admitted into evidence;
 5              3.     any facts to which the lawyers have agreed; and
 6              4.     any facts that I may instruct you to accept as
 7                     proved.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             8
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 10 of 56 Page ID
                                      #:25297

  1                        Instruction No. 7: What is Not Evidence
  2         In reaching your verdict, you may consider only the testimony and exhibits
  3 received into evidence. Certain things are not evidence, and you may not consider
  4 them in deciding what the facts are. I will list them for you:
  5         (1)   Arguments and statements by lawyers are not evidence. The lawyers
  6               are not witnesses. What they may say in their opening statements,
  7               closing arguments and at other times is intended to help you interpret
  8               the evidence, but it is not evidence. If the facts as you remember them
  9               differ from the way the lawyers have stated them, your memory of
10                them controls.
11          (2)   Questions and objections by lawyers are not evidence. Attorneys have
12                a duty to their clients to object when they believe a question is
13                improper under the rules of evidence. You should not be influenced by
14                the objection or by the court’s ruling on it.
15          (3)   Testimony that is excluded or stricken, or that you are instructed to
16                disregard, is not evidence and must not be considered. In addition,
17                some evidence may be received only for a limited purpose; when I
18                instruct you to consider certain evidence only for a limited purpose,
19                you must do so, and you may not consider that evidence for any other
20                purpose.
21          (4)   Anything you may see or hear when the court was not in session is not
22                evidence. You are to decide the case solely on the evidence received at
23                the trial.
24
25
26
27
28
                                                9
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25       Page 11 of 56 Page ID
                                    #:25298

  1                  Instruction No. 8: Evidence for Limited Purpose
  2        Some evidence may be admitted only for a limited purpose.
  3        When I instruct you that an item of evidence has been admitted only for a
  4 limited purpose, you must consider it only for that limited purpose and not for any
  5 other purpose.
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             10
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 12 of 56 Page ID
                                     #:25299

  1               Instruction No. 9: Direct and Circumstantial Evidence
  2         Evidence may be direct or circumstantial. Direct evidence is direct proof of a
  3 fact, such as testimony by a witness about what that witness personally saw or heard
  4 or did. Circumstantial evidence is proof of one or more facts from which you could
  5 find another fact. You should consider both kinds of evidence. The law makes no
  6 distinction between the weight to be given to either direct or circumstantial
  7 evidence. It is for you to decide how much weight to give to any evidence.
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              11
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25       Page 13 of 56 Page ID
                                      #:25300

  1                       Instruction No. 10: Ruling on Objections
  2         There are rules of evidence that control what can be received into evidence.
  3 When a lawyer asks a question or offers an exhibit into evidence and a lawyer on
  4 the other side thinks that it is not permitted by the rules of evidence, that lawyer
  5 may object. If I overrule the objection, the question may be answered, or the
  6 exhibit received. If I sustain the objection, the question cannot be answered, and
  7 the exhibit cannot be received. Whenever I sustain an objection to a question, you
  8 must ignore the question and must not guess what the answer might have been.
  9         Sometimes I may order that evidence be stricken from the record and that you
10 disregard or ignore that evidence. That means when you are deciding the case, you
11 must not consider the stricken evidence for any purpose.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               12
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25        Page 14 of 56 Page ID
                                       #:25301

  1                       Instruction No. 11: Credibility of Witnesses
  2         In deciding the facts in this case, you may have to decide which testimony to
  3 believe and which testimony not to believe. You may believe everything a witness
  4 says, or part of it, or none of it.
  5         In considering the testimony of any witness, you may take into account:
  6         (1)    the opportunity and ability of the witness to see or hear or know the
  7                things testified to;
  8         (2)    the witness’s memory;
  9         (3)    the witness’s manner while testifying;
10          (4)    the witness’s interest in the outcome of the case, if any;
11          (5)    the witness’s bias or prejudice, if any;
12          (6)    whether other evidence contradicted the witness’s testimony;
13          (7)    the reasonableness of the witness’s testimony in light of all the
14                 evidence; and
15          (8)    any other factors that bear on believability.
16          Sometimes a witness may say something that is not consistent with
17 something else he or she said. Sometimes different witnesses will give different
18 versions of what happened. People often forget things or make mistakes in what
19 they remember. Also, two people may see the same event but remember it
20 differently. You may consider these differences, but do not decide that testimony is
21 untrue just because it differs from other testimony.
22          However, if you decide that a witness has deliberately testified untruthfully
23 about something important, you may choose not to believe anything that witness
24 said. On the other hand, if you think the witness testified untruthfully about some
25 things but told the truth about others, you may accept the part you think is true and
26 ignore the rest.
27          The weight of the evidence as to a fact does not necessarily depend on the
28
                                                13
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25     Page 15 of 56 Page ID
                                    #:25302

  1 number of witnesses who testify. What is important is how believable the witnesses
  2 were, and how much weight you think their testimony deserves.
  3
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                            14
                                                                     JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25        Page 16 of 56 Page ID
                                     #:25303

  1                        Instruction No. 12: Conduct of the Jury
  2         I will now say a few words about your conduct as jurors.
  3         First, keep an open mind throughout the trial, and do not decide what the
  4 verdict should be until you and your fellow jurors have completed your
  5 deliberations at the end of the case.
  6         Second, because you must decide this case based only on the evidence
  7 received in the case and on my instructions as to the law that applies, you must not
  8 be exposed to any other information about the case or to the issues it involves
  9 during the course of your jury duty. Thus, until the end of the case or unless I tell
10 you otherwise:
11          Do not communicate with anyone in any way and do not let anyone else
12          communicate with you in any way about the merits of the case or
13          anything to do with it. This includes discussing the case in person, in
14          writing, by phone, tablet, or computer, or any other electronic means,
15          via email, text messaging, or any internet chat room, blog, website or
16          application, including but not limited to Facebook, YouTube, Twitter,
17          Instagram, LinkedIn, Snapchat, TikTok, or any other forms of social
18          media. This applies to communicating with your fellow jurors until I
19          give you the case for deliberation, and it applies to communicating with
20          everyone else including your family members, your employer, the media
21          or press, and the people involved in the trial, although you may notify
22          your family and your employer that you have been seated as a juror in
23          the case, and how long you expect the trial to last. But, if you are asked
24          or approached in any way about your jury service or anything about this
25          case, you must respond that you have been ordered not to discuss the
26          matter and report the contact to the court.
27
28
                                               15
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 17 of 56 Page ID
                                      #:25304

  1        Because you will receive all the evidence and legal instruction you
  2        properly may consider to return a verdict: do not read, watch or listen
  3        to any news or media accounts or commentary about the case or anything
  4        to do with it; do not do any research, such as consulting dictionaries,
  5        searching the Internet, or using other reference materials; and do not
  6        make any investigation or in any other way try to learn about the case
  7        on your own. Do not visit or view any place discussed in this case, and
  8        do not use the Internet or any other resource to search for or view any
  9        place discussed during the trial. Also, do not do any research about this
10         case, the law, or the people involved—including the parties, the
11         witnesses or the lawyers—until you have been excused as jurors. If you
12         happen to read or hear anything touching on this case in the media, turn
13         away and report it to me as soon as possible.
14         These rules protect each party’s right to have this case decided only on
15 evidence that has been presented here in court. Witnesses here in court take an oath
16 to tell the truth, and the accuracy of their testimony is tested through the trial
17 process. If you do any research or investigation outside the courtroom, or gain any
18 information through improper communications, then your verdict may be
19 influenced by inaccurate, incomplete or misleading information that has not been
20 tested by the trial process. Each of the parties is entitled to a fair trial by an
21 impartial jury, and if you decide the case based on information not presented in
22 court, you will have denied the parties a fair trial. Remember, you have taken an
23 oath to follow the rules, and it is very important that you follow these rules.
24         A juror who violates these restrictions jeopardizes the fairness of these
25 proceedings, and a mistrial could result that would require the entire trial process to
26 start over. If any juror is exposed to any outside information, please notify the court
27 immediately.
28
                                               16
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 18 of 56 Page ID
                                     #:25305

  1                      Instruction No. 13: Publicity During Trial
  2         If there is any news media account or commentary about the case or anything
  3 to do with it, you must ignore it. You must not read, watch, or listen to any news
  4 media account or commentary about the case or anything to do with it. The case
  5 must be decided by you solely and exclusively on the evidence that will be received
  6 in the case and on my instructions as to the law that applies. If any juror is exposed
  7 to any outside information, please notify me immediately.
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              17
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25       Page 19 of 56 Page ID
                                      #:25306

  1                 Instruction No. 14: No Transcript Available to Jury
  2         I urge you to pay close attention to the trial testimony as it is given. During
  3 deliberations you will not have a transcript of the trial testimony.
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               18
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25      Page 20 of 56 Page ID
                                     #:25307

  1                           Instruction No. 15: Taking Notes
  2        If you wish, you may take notes to help you remember the evidence. If you
  3 do take notes, please keep them to yourself until you go to the jury room to decide
  4 the case. Do not let notetaking distract you. When you leave, your notes should be
  5 left in the jury room. No one will read your notes.
  6        Whether or not you take notes, you should rely on your own memory of the
  7 evidence. Notes are only to assist your memory. You should not be overly
  8 influenced by your notes or those of other jurors.
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             19
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 21 of 56 Page ID
                                     #:25308

  1         Instruction No. 16: Questions to Witnesses by Jurors During Trial
  2         Only the lawyers and I are allowed to ask questions of witnesses. A juror is
  3 not permitted to ask questions of witnesses. If, however, you are unable to hear a
  4 witness or a lawyer, please raise your hand and I will correct the situation.
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              20
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25      Page 22 of 56 Page ID
                                      #:25309

  1                 Instruction No. 17: Bench Conferences and Recesses
  2          From time to time during the trial, it may become necessary for me to talk
  3 with the attorneys out of the hearing of the jury, either by having a conference at the
  4 bench when the jury is present in the courtroom, or by calling a recess. Please
  5 understand that while you are waiting, we are working. The purpose of these
  6 conferences is not to keep relevant information from you, but to decide how certain
  7 evidence is to be treated under the rules of evidence and to avoid confusion and
  8 error.
  9          Of course, we will do what we can to keep the number and length of these
10 conferences to a minimum. I may not always grant an attorney’s request for a
11 conference. Do not consider my granting or denying a request for a conference as
12 any indication of my opinion of the case or of what your verdict should be.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               21
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25        Page 23 of 56 Page ID
                                    #:25310

  1                         Instruction No. 18: Outline of Trial
  2        Trials proceed in the following way: First, each side may make an opening
  3 statement. An opening statement is not evidence. It is simply an outline to help
  4 you understand what that party expects the evidence will show. A party is not
  5 required to make an opening statement.
  6        The plaintiff will then present evidence, and counsel for the defendants may
  7 cross-examine. Then the defendants may present evidence, and counsel for the
  8 plaintiff may cross-examine.
  9        After the evidence has been presented, I will instruct you on the law that
10 applies to the case and the attorneys will make closing arguments.
11         After that, you will go to the jury room to deliberate on your verdict.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              22
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25      Page 24 of 56 Page ID
                                     #:25311

  1              Instruction No. 19: Deposition in Lieu of Live Testimony
  2         A deposition is the sworn testimony of a witness taken before trial. The
  3 witness is placed under oath to tell the truth and lawyers for each party may ask
  4 questions. The questions and answers are recorded.
  5         Insofar as possible, you should consider deposition testimony, presented to
  6 you in court in lieu of live testimony, in the same way as if the witness had been
  7 present to testify.
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              23
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25      Page 25 of 56 Page ID
                                    #:25312

  1                Instruction No. 20: Impeachment Evidence—Witness
  2        The evidence that a witness lied under oath on a prior occasion or made a
  3 prior inconsistent statement may be considered, along with all other evidence, in
  4 deciding whether or not to believe the witness and how much weight to give to the
  5 testimony of the witness and for no other purpose.
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             24
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 26 of 56 Page ID
                                     #:25313

  1                          Instruction No. 21: Expert Opinion
  2         You heard testimony from expert witnesses who testified about their opinions
  3 and the reasons for those opinions. This opinion testimony is allowed, because of
  4 the specialized knowledge, skill, experience, training, or education of these
  5 witnesses.
  6         Such opinion testimony should be judged like any other testimony. You may
  7 accept it or reject it and give it as much weight as you think it deserves, considering
  8 the witness’s specialized knowledge, skill, experience, training, or education, the
  9 reasons given for the opinion, and all the other evidence in the case.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              25
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25       Page 27 of 56 Page ID
                                      #:25314

  1                            Instruction No. 22: Duty of Jury
  2         Members of the Jury: Now that you have heard all of the evidence, it is my
  3 duty to instruct you on the law that applies to this case.
  4
  5         A copy of these instructions will be sent to the jury room for you to consult
  6 during your deliberations.
  7         It is your duty to find the facts from all the evidence in the case. To those
  8 facts you will apply the law as I give it to you. You must follow the law as I give it
  9 to you whether you agree with it or not. And you must not be influenced by any
10 personal likes or dislikes, opinions, prejudices, or sympathy. That means that you
11 must decide the case solely on the evidence before you. You will recall that you
12 took an oath to do so.
13          Please do not read into these instructions or anything that I may say or do or
14 have said or done that I have an opinion regarding the evidence or what your verdict
15 should be.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               26
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25        Page 28 of 56 Page ID
                                    #:25315

  1       Instruction No. 23A: Corporations and Partnerships – Fair Treatment
  2        All parties are equal before the law and a corporation is entitled to the same
  3 fair and conscientious consideration by you as any party.
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              27
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 29 of 56 Page ID
                                     #:25316

  1     Instruction No. 23B: Liability of Corporations—Scope of Authority Not in
  2                                          Issue
  3         Under the law, a corporation is considered to be a person. It can only act
  4 through its employees, agents, directors, or officers. Therefore, a corporation is
  5 responsible for the acts of its employees, agents, directors, and officers performed
  6 within the scope of authority.
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              28
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25      Page 30 of 56 Page ID
                                     #:25317

  1               Instruction No. 24: Preliminary Instruction—Copyright
  2         The plaintiff, Francesca Gregorini owns a copyright and seeks damages
  3 against the defendants, Apple Inc., M. Night Shyamalan, Blinding Edge Pictures,
  4 Inc., Uncle George Productions, Escape Artists, Inc., Dolphin Black Productions,
  5 Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch,
  6 for copyright infringement. The defendants deny infringing the plaintiff’s copyright
  7 and assert defenses. To help you understand the evidence in this case, I will explain
  8 some of the legal terms you will hear during this trial.
  9                           DEFINITION OF COPYRIGHT
10          The owner of a copyright has the right to exclude any other person from
11 reproducing, distributing, performing, displaying, or preparing derivative works
12 from the work covered by copyright for a specific period of time.
13          A copyrighted work can be a literary work, musical work, dramatic work,
14 pantomime, choreographic work, pictorial work, graphic work, sculptural work,
15 motion picture, audiovisual work, sound recording, architectural work, or computer
16 program.
17          Facts, ideas, procedures, processes, systems, methods of operation, concepts,
18 principles, or discoveries cannot themselves be copyrighted.
19          The copyrighted work must be original. An original work that closely
20 resembles other works can be copyrighted so long as the similarity between the two
21 works is not the result of copying.
22                          HOW COPYRIGHT IS OBTAINED
23          Copyright automatically attaches to a work the moment the work is fixed in
24 any tangible medium of expression. The owner of the copyright may apply to
25 register the copyright by completing a registration form and depositing a copy of
26 the copyrighted work with the Copyright Office. After determining that the material
27 deposited constitutes copyrightable subject matter and that certain legal and formal
28
                                              29
                                                                        JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25        Page 31 of 56 Page ID
                                       #:25318

  1
      requirements are satisfied, the Register of Copyrights registers the work and issues
  2
      a certificate of registration to the copyright owner.
  3
                              PLAINTIFF’S BURDEN OF PROOF
  4
              In this case, the plaintiff, Francesca Gregorini, contends that the defendants,
  5
      Apple Inc., M. Night Shyamalan, Blinding Edge Pictures, Inc., Uncle George
  6
      Productions, Escape Artists, Inc., Dolphin Black Productions, Tony Basgallop,
  7
      Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch
  8
      , have infringed the plaintiff’s copyright. The plaintiff has the burden of
  9
      proving by a preponderance of the evidence that the defendants copied original
10
      expression from the copyrighted work, and that the defendants caused the
11
      infringement. Preponderance of the evidence means that you must be persuaded by
12
      the evidence that it is more probably true than not true that the copyrighted work
13
      was infringed.
14
                                      PROOF OF COPYING
15
              To prove that a defendant copied the plaintiff’s work, the plaintiff may use
16
      direct or indirect evidence. Direct evidence includes an admission that the defendant
17
      copied the plaintiff’s work. Indirect evidence is evidence showing that the
18
      defendant had access to the plaintiff’s copyrighted work and that there are
19
      substantial similarities between the defendant’s work and the plaintiff’s copyrighted
20
      work.
21
              The plaintiff must also prove that the defendant’s copying of the copyrighted
22
      work was substantial. In determining whether the defendant’s copying of the
23
      copyrighted work was substantial, you may consider how important the copied
24
      portion was to the copyrighted work as a whole.
25
26
27
28
                                                 30
                                                                            JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25       Page 32 of 56 Page ID
                                       #:25319

  1
                             LIABILITY FOR INFRINGEMENT
  2
            One who causes a copyrighted work to be publicly distributed, publicly
  3
      displayed or the basis of a derivative work without authority from the copyright
  4
      owner during the term of the copyright infringes the copyright.
  5
            A person may be liable for another person’s infringement by vicariously
  6
      infringing or contributorily infringing.
  7
                                VICARIOUS INFRINGEMENT
  8
            A person is liable for copyright infringement by another if the person has
  9
      profited directly from the infringing activity and had the right and ability to
10
      supervise or control the infringing activity, whether or not the person knew of the
11
      infringement.
12
                             CONTRIBUTORY INFRINGEMENT
13
            A person is liable for copyright infringement by another if the person knows
14
      or should have known of the infringing activity and induces or materially
15
      contributes to the activity.
16
                               DEFENSES TO INFRINGEMENT
17
            The defendants contend that there is no copyright infringement. There is no
18
      copyright infringement when the defendant’s work is the result of independent
19
      creation, coincidence, or prior common source.
20
21
22
23
24
25
26
27
28
                                                 31
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25       Page 33 of 56 Page ID
                                       #:25320

  1               Instruction No. 25: Copyright—Defined (17 U.S.C. § 106)
  2        Copyright is the exclusive right to copy. This right to copy includes the
  3 exclusive rights to:
  4        [1.]    reproduce the copyrighted work;
  5        [2.]    recast, transform, or adapt the work, that is prepare derivative
  6                works based upon the copyrighted work;
  7        [3.]    distribute copies of the copyrighted work to the public by saleor
  8                by rental;
  9        [4.]    perform publicly a copyrighted motion picture;
10         [5.]    display publicly a copyrighted individual image of a motion
11                 picture; and
12         [6.]    perform a sound recording by means of digital audio
13                 transmission.
14         It is the owner of a copyright who may exercise these exclusive rights. The
15 term “owner” includes the author of the work or an assignee. In general, copyright
16 law protects against adaptation and public distribution and public display of
17 identical or substantially similar copies of the owner’s copyrighted work without
18 the owner’s permission. An owner may enforce these rights to exclude others in an
19 action for copyright infringement.
20
21
22
23
24
25
26
27
28
                                               32
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25       Page 34 of 56 Page ID
                                      #:25321

  1     Instruction No. 26: Copyright-Subject Matter-Generally (17 U.S.C. § 102)
  2         The work The Truth About Emanuel, which I will refer to as simply Emanuel
  3 for short in these instructions, involved in this trial is known as a motion picture.
  4         You are instructed that a copyright may be obtained in the motion picture
  5 Emanuel.
  6         This work can be protected by copyright law. Only that part of the work
  7 consisting of original works of authorship fixed in any tangible form of expression
  8 from which it can be perceived, reproduced, or otherwise communicated, either
  9 directly or with the aid of a machine or device, is protected by the Copyright Act.
10          Copyright protection for an original work of authorship does not extend to
11 any idea, procedure, process, system, method of operation, concept, principle, or
12 discovery, regardless of the form in which it is described, explained, illustrated, or
13 embodied.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               33
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 35 of 56 Page ID
                                     #:25322

  1      Instruction No. 27: Copyright—Subject Matter—Ideas and Expression
                                     (17 U.S.C. § 102(b))
  2
  3         Only the expression of an idea or fact can be copyrighted. The underlying
  4 ideas contained in the work, such as procedures, processes, systems, methods of
  5 operation, concepts, principles, or discoveries, or the underlying facts contained in
  6 the work, such as names and addresses in a telephone directory, cannot be
  7 copyrighted.
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              34
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 36 of 56 Page ID
                                      #:25323

  1   Instruction No. 28: Copyright Infringement—Elements—Copying (17 U.S.C. §
                                        501(a)-(b))
  2
  3         Anyone who copies original expression from a copyrighted work during the
  4 term of the copyright without the owner’s permission infringes the copyright.
  5         On the plaintiff’s copyright infringement claim, the plaintiff has the burden of
  6 proving by a preponderance of the evidence that:
  7         The defendant copied original expression from the copyrighted work.
  8         If you find that the plaintiff has proved this element, your verdict should be
  9 for the plaintiff. If, on the other hand, you find that the plaintiff has failed to prove
10 this element, your verdict should be for the defendant.
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                35
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25      Page 37 of 56 Page ID
                                    #:25324

  1     Instruction No. 31: Copyright Interests—Authorship (17 U.S.C. § 201(a))
  2        The creator of an original work is called the author of that work. An author
  3 originates or “masterminds” the original work, controlling the whole work’s
  4 creation and causing it to come into being.
  5        Others may help or may make valuable or creative contributions to a work.
  6 However, such contributors cannot be the authors of the work unless they caused
  7 the work to come into being. One must translate an idea into a fixed, tangible
  8 expression in order to be the author of the work. Merely giving an idea to another
  9 does not make the giver an author of a work embodying that idea.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             36
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25         Page 38 of 56 Page ID
                                    #:25325

  1             Instruction No. 34: Copyright Infringement—Originality
  2        You may find that Emanuel is original if it was created:
  3        First, independently by the work’s author, that is, the author did not copy it
  4 from another work; and
  5        Second, by use of at least some minimal creativity.
  6 The “original” part of a work need not be new or novel.
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              37
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25        Page 39 of 56 Page ID
                                     #:25326

  1           Instruction No. 35: Copying—Access and Substantial Similarity
  2         The plaintiff has the burden of proving that the defendant copied original
  3 elements from the plaintiff’s copyrighted work. If the plaintiff proves by a
  4 preponderance of the evidence that the defendant had access to the plaintiff’s
  5 copyrighted work and that there are substantial similarities between the defendant’s
  6 work and original elements of the plaintiff’s work, then there is a presumption that
  7 the defendant copied from the plaintiff’s copyrighted work. If the plaintiff fails to
  8 prove that the defendant copied from the plaintiff’s work, your verdict should be for
  9 the defendant.
10          The defendant may rebut the presumption of copying. If you find that the
11 defendant has proved by a preponderance of evidence that the similarities between
12 the defendant’s work and the copyrighted work are due to independent creation or
13 something other than copying, your verdict should be for the defendant.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               38
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25       Page 40 of 56 Page ID
                                       #:25327

  1      Instruction No. 36: Copyright Infringement—Copying—Access Defined
  2
            As part of its burden in Instruction 35, the plaintiff must prove by a
  3
      preponderance of the evidence that a defendant had access to the plaintiff’s work.
  4
      You may find that a defendant had access to the plaintiff’s work if a defendant had
  5
      a reasonable opportunity to view the plaintiff’s work before the defendant’s work
  6
      was created.
  7
            Access may be shown by:
  8
            1.       a chain of events connecting the plaintiff’s work and a defendant’s
  9
                     opportunity to view that work such as dealings through a third party
10
                     that had access to the plaintiff’s work and with whom both the plaintiff
11
                     and the defendant were dealing or
12
            2.       the plaintiff’s work being widely disseminated.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 39
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC        Document 421 Filed 01/27/25       Page 41 of 56 Page ID
                                        #:25328

  1     Instruction No. 37: Substantial Similarity—Extrinsic Test; Intrinsic Test;
                               Selection-and-Arrangement
  2
  3         Now I will explain what 'unlawful appropriation' is. To determine unlawful
  4 appropriation, you must determine for the copyrighted work whether episodes 1-3
  5 of Defendants’ television series Servant share the necessary degree of similarity; the
  6 similarity test contains an extrinsic and intrinsic portion that the Court will explain
  7 in instructions momentarily. To show unlawful appropriation, you must apply both
  8 of the two separate tests.
  9      A. Extrinsic Test
10          The first test is an “Extrinsic Test.” The “extrinsic test” is an objective
11 comparison of specific expressive elements. There are three steps within this test:
12
     (1) In the first step of the Extrinsic Test, you must identify similarities between
13
         the disputed copyrighted work and the accused work.
14
     (2) In the second step of the Extrinsic Test, you must filter out all the similarities
15
         you identified in Step (1) that are based on elements in Plaintiff’s copyrighted
16
         works which are not protected under copyright law.
17
         In the second step of the Extrinsic Test, you must filter out all the similarities
18
         you identified in Step (1) that are based on elements in Plaintiff’s copyrighted
19
         works which are not protected under copyright law.
20
         Protected elements can include plot, themes, dialogue, mood, setting, pace,
21
         characters, sequence of events, and other expressive elements that are original
22
         to Plaintiff’s work.
23
         Unprotected elements can include stock or standard concepts, characters,
24
         plot, themes, dialogue, mood, setting, pace, colors, animation style, sequence
25
         of events, music, incidents that flow naturally from a basic plot premise
26
         (scenes-a-faire), and any other features that are commonly used or firmly
27
         rooted in the tradition of the genre to which the works belong, as well as
28
                                              40
                                                                            JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25         Page 42 of 56 Page ID
                                       #:25329

  1         other material that is part of the public domain or not original to the
  2         Plaintiff’s work.
  3         A combination of elements that are individually unprotected can collectively
  4         be protected expression if those elements are numerous enough and their
  5         selection and arrangement original enough that the combination constitutes
  6         an original work of authorship. For example, a particular grouping or
  7         sequence in which an author combines a significant number of unprotectable
  8         elements can itself be a protectable element and can help satisfy the extrinsic
  9         test. Assessing the similarity between two works may require examining
10          similarities between the protected combination of elements of the copyrights
11          work and those of the accused works: combinations may include plot,
12          themes, dialogue, mood, setting, pace, characters, and sequence of events.
13       (3) In the third step of the Extrinsic Test, once you filter out any similarities that
14          arise from elements in Plaintiff’s work that are not protected in step (2), you
15          must then determine whether the protected elements (or combination of
16          elements) in the asserted copyrighted works of Plaintiff are substantially
17          similar to any of the accused works of Defendant.
18          For each copyrighted work, if you find that Plaintiff has failed to show
19          sufficient similarity to satisfy the Extrinsic Test, then you do not need to
20          consider the intrinsic test and your verdict should be for Defendants. If you
21          do find that Plaintiff has shown sufficient similarity to satisfy the Extrinsic
22          Test, then you go onto the Intrinsic Test.
23
         B. Intrinsic Test
24
            The second test is a subjective one, called the Intrinsic Test. The Intrinsic
25
      Test asks whether an ordinary, reasonable observer would find the “total concept
26
      and feel” of the works to be substantially similar to the asserted copyrighted works.
27
      Here, you should not take into account the testimony of the expert witnesses. You
28
                                                 41
                                                                             JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC       Document 421 Filed 01/27/25        Page 43 of 56 Page ID
                                       #:25330

  1 should not dissect isolated elements of each work to the exclusion of the other
  2 elements, combinations of elements, or expressions. Duplication or near identity is
  3 not necessary to satisfy the Intrinsic Test.
  4
      You must apply both tests. For each copyrighted work, if you determine that
  5
      Plaintiff has shown substantial similarity under both the Extrinsic Test and the
  6
      Intrinsic Test, your verdict should be for the Plaintiff as to that work.
  7
  8 Protected/Unprotected Elements
  9       One of the first issues you will determine is whether individual elements or
10 combination of elements in Plaintiff's work is protectable under copyright law.
11 Copyright protection does not necessarily extend to all the elements of a
12 copyrighted work. Only the particular expression of an idea can be copyrighted and
13 protected. Elements to which copyright protection extends are called ‘protected
14 matter,’ and other elements are ‘unprotected matter.’ Unprotected matter is not
15 entitled to copyright protection and may be copied by another. They include:
16              1. A portion of the work that is not original to the author;
17              2. A portion of the work that was in the public domain at the time of
18                 creation by the author;
19              3. An underlying idea, concept, objective fact, or actual event themselves,
20                 expressed or described in a work; and
21              4. Elements that are merely standard, stock, or common to a particular
22                 subject matter or medium.
23          You may find that aspects of Plaintiffs' copyrighted works are protected or
24 not protected. You may also find that a particular selection and arrangement of
25 otherwise unprotected elements is original enough to be protected if those elements
26 are numerous enough and their selection and arrangement are original enough that
27 their combination constitutes an original work of authorship.
28
                                                42
                                                                            JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 44 of 56 Page ID
                                      #:25331

  1          Instruction No. 38: Secondary Liability—Vicarious Infringement
                             —Elements and Burden of Proof
  2
  3         If you find that a defendant directly infringed the plaintiff’s copyright in
  4 Emanuel, you must determine whether any defendant (except Steve Tisch) that you
  5 did not find to directly infringe, instead vicariously infringed that copyright. The
  6 plaintiff has the burden of proving each of the following elements by a
  7 preponderance of the evidence:
  8         1.    the defendant directly benefitted financially from the infringing
  9               activity of a direct infringer;
10          2.    the defendant had the right and ability to supervise or control the
11                infringing activity of that direct infringer; and
12          3.    the defendant failed to exercise that right and ability.
13          If you find that the plaintiff has proved each of these elements, your verdict
14 should be for the plaintiff and against any defendant meeting these elements and
15 any defendant you found to directly infringe. If, on the other hand, the plaintiff has
16 failed to prove any of these elements as to a defendant that you also found did not
17 directly infringe, your verdict should be for that defendant.
18
19
20
21
22
23
24
25
26
27
28
                                                43
                                                                             JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 45 of 56 Page ID
                                      #:25332

  1      Instruction No. 39: Secondary Liability—Contributory Infringement—
                              Elements and Burden of Proof
  2
  3         A defendant may be liable for copyright infringement engaged in by another
  4 if that defendant knew or had reason to know of the infringing activity and
  5 intentionally induced or materially contributed to that infringing activity.
  6         If you find that a defendant directly infringed the plaintiff’s copyright in
  7 Emanuel, you must determine whether any defendant that you did not find to
  8 directly infringe, instead contributorily infringed that copyright. The plaintiff has
  9 the burden of proving both of the following elements by a preponderance of the
10 evidence:
11          1. the defendant knew or had reason to know of the infringing activity of a
12             direct infringer; and
13          2. the defendant intentionally induced or materially contributed to that direct
14             infringer’s infringing activity.
15          The defendant’s intent to induce the infringing activity must be shown by
16 clear expression of that intent or other affirmative steps taken by the defendant to
17 encourage.
18          If you find that a defendant directly infringed the plaintiff’s copyright and
19 you also find that the plaintiff has proved both of these elements, your verdict
20 should be for the plaintiff and against any defendant meeting these elements and
21 any defendant you found to directly infringe. If, on the other hand, the plaintiff has
22 failed to prove either or both of these elements as to a defendant that you also found
23 did not directly infringe, your verdict should be for that defendant.
24
25
26
27
28
                                                  44
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 46 of 56 Page ID
                                      #:25333

  1             Instruction No. 40: Copyright—Damages (17 U.S.C. § 504)
  2         If you find for the plaintiff on the plaintiff’s copyright infringement claim,
  3 you must determine the plaintiff’s damages. The plaintiff is entitled to recover any
  4 profits of the defendant attributable to the infringement. The plaintiff must prove
  5 damages by a preponderance of the evidence.
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               45
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 47 of 56 Page ID
                                     #:25334

  1           Instruction No. 41: Copyright—Damages—Defendant’s Profits
                                   (17 U.S.C. § 504(b))
  2
  3        The plaintiff is entitled to any profits of any defendant from Episodes 1-3 of
  4 Servant attributable to the infringement.
  5        You may make an award of any defendant’s indirect profits from Episodes 4-
  6 40 of Servant only if you find that the plaintiff showed a causal relationship between
  7 the infringement and the profits generated indirectly from the infringement.
  8        A defendant’s profit is determined by subtracting all expenses from that
  9 defendant’s gross revenue.
10         A defendant’s gross revenue is all of a defendant’s receipts from the use or
11 sale of a product associated with the infringement. The plaintiff has the burden of
12 proving any defendant’s gross revenue by a preponderance of the evidence.
13         Expenses are all operating costs or overhead costs and production costs
14 incurred in producing the defendant’s gross revenue. The defendant has the burden
15 of proving the defendant’s expenses by a preponderance of the evidence.
16         Unless you find that a portion of the profit from the use or sale of a product
17 containing or using the copyrighted work is attributable to factors other than use of
18 the copyrighted work, all of the profit is to be attributed to the infringement. The
19 defendant has the burden of proving the portion of the profit, if any, attributable to
20 factors other than infringing the copyrighted work.
21
22
23
24
25
26
27
28
                                                46
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 48 of 56 Page ID
                                      #:25335

  1                         Instruction No. 42: Duty to Deliberate
  2         Before you begin your deliberations, elect one member of the jury as your
  3 presiding juror. The presiding juror will preside over the deliberations and serve as
  4 the spokesperson for the jury in court.
  5         You shall diligently strive to reach agreement with all of the other jurors if
  6 you can do so. Your verdict must be unanimous.
  7         Each of you must decide the case for yourself, but you should do so only after
  8 you have considered all of the evidence, discussed it fully with the other jurors, and
  9 listened to their views.
10          It is important that you attempt to reach a unanimous verdict but, of course,
11 only if each of you can do so after having made your own conscientious decision.
12 Do not be unwilling to change your opinion if the discussion persuades you that you
13 should. But do not come to a decision simply because other jurors think it is right
14 or change an honest belief about the weight and effect of the evidence simply to
15 reach a verdict.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               47
                                                                          JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 49 of 56 Page ID
                                      #:25336

  1        Instruction No. 43: Consideration of Evidence—Conduct of the Jury
  2         Because you must base your verdict only on the evidence received in the case
  3 and on these instructions, I remind you that you must not be exposed to any other
  4 information about the case or to the issues it involves. Except for discussing the
  5 case with your fellow jurors during your deliberations:
  6         Do not communicate with anyone in any way and do not let anyone else
  7         communicate with you in any way about the merits of the case or
  8         anything to do with it. This includes discussing the case in person, in
  9         writing, by phone, tablet, computer, or any other means, via email, via
10          text messaging, or any internet chat room, blog, website or application,
11          including but not limited to Facebook, YouTube, Twitter, Instagram,
12          LinkedIn, Snapchat, TikTok, or any other forms of social media. This
13          applies to communicating with your family members, your employer,
14          the media or press, and the people involved in the trial. If you are asked
15          or approached in any way about your jury service or anything about this
16          case, you must respond that you have been ordered not to discuss the
17          matter and to report the contact to the court.
18
19          Do not read, watch, or listen to any news or media accounts or
20          commentary about the case or anything to do with it; do not do any
21          research, such as consulting dictionaries, searching the Internet, or using
22          other reference materials; and do not make any investigation or in any
23          other way try to learn about the case on your own. Do not visit or view
24          any place discussed in this case, and do not use Internet programs or
25          other devices to search for or view any place discussed during the trial.
26          Also, do not do any research about this case, the law, or the people
27          involved—including the parties, the witnesses, or the lawyers—until
28
                                               48
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC      Document 421 Filed 01/27/25        Page 50 of 56 Page ID
                                      #:25337

  1         you have been excused as jurors. If you happen to read or hear anything
  2         touching on this case in the media, turn away and report it to me as soon
  3         as possible.
  4
  5         These rules protect each party’s right to have this case decided only on
  6 evidence that has been presented here in court. Witnesses here in court take an oath
  7 to tell the truth, and the accuracy of their testimony is tested through the trial
  8 process. If you do any research or investigation outside the courtroom, or gain any
  9 information through improper communications, then your verdict may be
10 influenced by inaccurate, incomplete, or misleading information that has not been
11 tested by the trial process. Each of the parties is entitled to a fair trial by an
12 impartial jury, and if you decide the case based on information not presented in
13 court, you will have denied the parties a fair trial. Remember, you have taken an
14 oath to follow the rules, and it is very important that you follow these rules.
15          A juror who violates these restrictions jeopardizes the fairness of these
16 proceedings, and a mistrial could result that would require the entire trial process to
17 start over. If any juror is exposed to any outside information, please notify the court
18 immediately.
19
20
21
22
23
24
25
26
27
28
                                                49
                                                                           JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25      Page 51 of 56 Page ID
                                     #:25338

  1        Instruction No. 44: Charts and Summaries Not Received in Evidence
  2        Certain charts and summaries not admitted into evidence were shown to you
  3 in order to help explain the contents of books, records, documents, or other
  4 evidence in the case. Charts and summaries are only as good as the underlying
  5 evidence that supports them. You should, therefore, give them only such weight as
  6 you think the underlying evidence deserves.
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             50
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25      Page 52 of 56 Page ID
                                    #:25339

  1          Instruction No. 45: Charts and Summaries Received in Evidence
  2        Certain charts and summaries were admitted into evidence to illustrate
  3 information brought out in the trial. Charts and summaries are only as good as the
  4 testimony or other admitted evidence that supports them. You should, therefore,
  5 give them only such weight as you think the underlying evidence deserves.
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             51
                                                                      JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 53 of 56 Page ID
                                     #:25340

  1                  Instruction No. 46: Evidence in Electronic Format
  2         Those exhibits received in evidence that are capable of being displayed
  3 electronically will be provided to you in that form, and you will be able to view
  4 them in the jury room. A computer, projector, printer, and accessory equipment
  5 will be available to you in the jury room.
  6         A court technician will show you how to operate the computer and other
  7 equipment; how to locate and view the exhibits on the computer; and how to print
  8 the exhibits. You will also be provided with a paper list of all exhibits received in
  9 evidence. You may request a paper copy of any exhibit received in evidence by
10 sending a note through the bailiff. If you need additional equipment or supplies or
11 if you have questions about how to operate the computer or other equipment, you
12 may send a note to the bailiff, signed by your foreperson or by one or more
13 members of the jury. Do not refer to or discuss any exhibit you were attempting to
14 view.
15          If a technical problem or question requires hands-on maintenance or
16 instruction, a court technician may enter the jury room with the bailiff present for
17 the sole purpose of assuring that the only matter that is discussed is the technical
18 problem. When the court technician or any nonjuror is in the jury room, the jury
19 shall not deliberate. No juror may say anything to the court technician or any
20 nonjuror other than to describe the technical problem or to seek information about
21 operation of the equipment. Do not discuss any exhibit or any aspect of the case.
22          The sole purpose of providing the computer in the jury room is to enable
23 jurors to view the exhibits received in evidence in this case. You may not use the
24 computer for any other purpose. At my direction, technicians have taken steps to
25 ensure that the computer does not permit access to the Internet or to any “outside”
26 website, database, directory, game, or other material. Do not attempt to alter the
27 computer to obtain access to such materials. If you discover that the computer
28
                                              52
                                                                         JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25      Page 54 of 56 Page ID
                                    #:25341

  1 provides or allows access to such materials, you must inform the court immediately
  2 and refrain from viewing such materials. Do not remove the computer or any
  3 electronic data [disk] from the jury room, and do not copy any such data.
  4
  5
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             53
                                                                      JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC    Document 421 Filed 01/27/25      Page 55 of 56 Page ID
                                    #:25342

  1                  Instruction No. 47: Communications with Court
  2        If it becomes necessary during your deliberations to communicate with me,
  3 you may send a note through the bailiff, signed by any one or more of you. No
  4 member of the jury should ever attempt to communicate with me except by a signed
  5 writing. I will not communicate with any member of the jury on anything
  6 concerning the case except in writing or here in open court. If you send out a
  7 question, I will consult with the lawyers before answering it, which may take some
  8 time. You may continue your deliberations while waiting for the answer to any
  9 question. Remember that you are not to tell anyone—including the court—how the
10 jury stands, whether in terms of vote count or otherwise, until after you have
11 reached a unanimous verdict or have been discharged.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                             54
                                                                       JURY INSTRUCTIONS
Case 2:20-cv-00406-SSS-JC     Document 421 Filed 01/27/25       Page 56 of 56 Page ID
                                     #:25343

  1                         Instruction No. 48: Return of Verdict
  2         A verdict form has been prepared for you. After you have reached
  3 unanimous agreement on a verdict, your presiding juror should complete the verdict
  4 form according to your deliberations, sign and date it, and advise the bailiff that you
  5 are ready to return to the courtroom.
  6
  7
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              55
                                                                         JURY INSTRUCTIONS
